                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE



     Concord Music Group, Inc., et al.
                                                  ,
         Plaintiff(s),

v.                                                       Case No._____________________

     Anthropic PBC
                                                  ,
         Defendant(s).


                               BUSINESS ENTITY DISCLOSURE
       (Disclosure of corporate affiliations, business entity citizenship, and financial interests)

Pursuant to Fed. R. Civ. P. 7.1 and L.R. 7.02, Polygram Publishing, Inc. d/b/a Polygram
International Tunes, Inc., d/b/a Universal – Polygram International Publishing, Inc., d/b/a
Universal – Songs of Polygram International, Inc. makes the following disclosures:

INSTRUCTIONS: Check the applicable box or boxes, and fully provide any required
information. Attach separate pages as necessary to fully provide required information.

               This party is an individual, who resides in ______________________.


               This party is a publicly held corporation or other publicly held entity, incorporated in
               ______________ and with a principal place of business in _________________.


         X     This party is a privately held corporation, incorporated in Delaware and
               with a principal place of business in California.


          X    This party has parent corporations

                         If yes, identify on attached page(s) all parent corporations, including
                         grandparent and great- grandparent corporations.

               Ten percent or more of the stock of this party is owned by a publicly held
               corporation or other publicly held entity.

                         If yes, identify on attached page(s) all such owners.



     Case 3:23-cv-01092         Document 10        Filed 10/18/23      Page 1 of 4 PageID #: 101
           This party is a limited liability company or limited liability partnership.

                    If yes, identify on attached page(s) each member of the entity and the
                    member’s state of citizenship. If any member is other than an individual
                    person, the required information identifying ownership interests and
                    citizenship for each sub-member must be provided as well. See Delay v.
                    Rosenthal Collins, Grp., LLC, 585 F.3d 1003 (6th Cir. 2009).

           This party is an unincorporated association or entity.

                    If yes, identify on attached page(s) the nature of the entity, the members of
                    the entity and the member’s state of citizenship. If any member is other than
                    an individual person, the required information identifying ownership
                    interests and citizenship for each sub-member must be provided as well.

           This party is trust.

                    If yes, identify on attached page(s) each trustee and each trustee’s state of
                    citizenship. If any trustee is other than an individual person, the required
                    information identifying ownership of the non-individual the trustee and state of
                    citizenship of each sub-trustee must be provided as well.

           Another publicly held corporation or another publicly held entity has a direct
           financial interest in the outcome of the litigation.

                     If yes, identify on attached page(s) all corporations or entities and the
                     nature of their interest.


     Any additional pertinent information should also be provided on attached page(s).


       10/18/23
Date: _________           Signature: s/ Steven A. Riley
                                     ________________________________________

                                       Steven A. Riley
                          Printed Name:_____________________________________

                          Title: Attorney for Plaintiffs
                                 ____________________________________________


                            CERTIFICATE OF SERVICE
                  [Include certificate of service pursuant to LR 5.01.
             Attach as separate page if necessary due to space constraints.]




 Case 3:23-cv-01092        Document 10         Filed 10/18/23       Page 2 of 4 PageID #: 102
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC., et al.,
                                                     NO. ___________
              Plaintiffs,

              v.

ANTHROPIC PBC,

              Defendant.


             Attachment to Polygram Publishing, Inc.’s Business Entity Disclosure

         Polygram Publishing, Inc. d/b/a Polygram International Tunes, Inc., d/b/a Universal –

  Polygram International Publishing, Inc., d/b/a Universal – Songs of Polygram International, Inc.

  is wholly owned by Universal Music Group Holdings, Inc. Universal Music Group Holdings,

  Inc. is wholly owned by Universal Music Group, Inc. Universal Music Group, Inc. is wholly

  owned by Universal Music Group, N.V, a Netherlands public limited company. No other

  publicly held corporation owns 10% or more of Polygram Publishing, Inc.’s stock.




    Case 3:23-cv-01092       Document 10        Filed 10/18/23     Page 3 of 4 PageID #: 103
                               CERTIFICATE OF SERIVCE

        I hereby certify that a true and correct copy of the foregoing document was sent via U.S.
Certified Mail (with return receipt requested) on the 18th day of October 2023 to the following:

  Anthropic PBC
  c/o Corporation Service Company
  251 Little Falls Drive
  Wilmington, DE 19808

  Registered Agent for Defendant

                                                    s/ Steven A. Riley




  Case 3:23-cv-01092        Document 10       Filed 10/18/23     Page 4 of 4 PageID #: 104
